                 Case: 1:20-cv-03366 Document #: 5 Filed: 06/30/20 Page 1 of 1 PageID #:199

AO 399 (01/09) Waiver of the Service of Summons


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Northern District of Illinois

                         Lisa Calvente
                              Plaintiff
                      v.                                                          Civil Action No.          20-cv-3366
Salma Ghanem and DePaul University
                            Defendant

                                             WAIVER OF THE SERVICE OF SUMMONS

To: Fitzgerald T. Bramwell
             (Name of the plaintiff's attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                  06/09/2020 , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:       06/30/2020
                                                                                            Signature of the attorney or unrepresented party
                                                                                                   Anneliese Wermuth
         DePaul University
       Printed name of party waiving service of summons                                                       Printed name



                                                                                   Cozen O'Connor, 123 N. Wacker Dr., Ste. 1800, Chicago, IL 60606
                                                                                                          Add ress
                                                                                                           awermuth@cozen.com

                                                                                                             E-mail address

                                                                                                             312/474-7876
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
has no jurisdiction over this matter or over the defendant or the defendant's property.

         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence
of a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
